         Case 1:14-cr-00186-RDB Document 534 Filed 03/13/20 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                        :
                                                :
v.                                              :   Criminal No. RDB-14-0186
                                                :   Civil No. RDB-19-2312
RICHARD C. BYRD,                                :
  Defendant.                                    :

CONSENT MOTION OF RICHARD C. BYRD TO EXTEND THE TIME TO RESPOND
   TO THE GOVERNMENT’S OPPOSITION TO DEFENDANT’S CORRECTED
 MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE PURSUANT TO 28
                            U.S.C. § 2255


       Richard C. Byrd respectfully requests through undersigned counsel that the Court extend

the time for his reply in opposition to the Government’s Opposition to Defendant’s Corrected

Motion to Vacate, Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255. The Government

filed its opposition on March 2, 2020, making the response due on March 16, 2020.

       Defendant wishes to consult with his attorneys about the response, and counsel have been

unable to complete the research for the response, write the response and arrange meetings with

Defendant for such consultation in time for a filing on March 16, 2020. As the Court well knows,

the entire region has also been distracted by unprecedented school, work and other closures, which

have caused some, including undersigned counsel, to spend time that may have otherwise been

spent on this motion on those matters. Therefore, as required by this Court’s rules, undersigned

counsel consulted Government counsel, and Government counsel graciously agreed to an

extension until April 6, 2020.
         Case 1:14-cr-00186-RDB Document 534 Filed 03/13/20 Page 2 of 3



       Defendant therefore respectfully requests that this Court grant his Motion for an Extension

of Time such that his response will be due on April 6, 2020.

                                                    Respectfully submitted,
                                                    GREENBERG TRAURIG, LLP
                                                    /s/ Lee Ann Anderson
                                                    _____________________
                                                    Lee Ann Anderson
                                                    Bar ID: 812827
                                                    Greenberg Traurig, LLP
                                                    2101 L Street, N.W.
                                                    Washington, DC 20037
                                                    (202) 331-3100
                                                    andersonle@gtlaw.com
         Case 1:14-cr-00186-RDB Document 534 Filed 03/13/20 Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Motion for Extension of Time was served

this 13th day of March, 2020, via CM/ECF on all parties.



                                                   /s/ Lee Ann Anderson
                                                   _____________________
                                                   Lee Ann Anderson
                                                   Attorney for Richard C. Byrd
